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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES -
                                      GENERAL

    Case No.       2:23-cv-01049-JWH(KESx)                            Date     July 23, 2024
    Title     Entropic Communications, LLC v. Cox Communications, Inc. et al


    Present: The Honorable       JOHN W. HOLCOMB, UNITED STATES DISTRICT JUDGE
     Rolls Royce Paschal for Clarissa Lara                            Miriam Baird
                  Deputy Clerk                                       Court Reporter
      Attorney(s) Present for Plaintiff(s):               Attorney(s) Present for Defendant(s):
               Jason A. Engel                                   April Elizabeth Isaacson
               Michael T. Pieja                                    Michael J. Turton
               Nathan J. Fuller                                    Sarah Y. Kamran
            Vincent John Galluzzo                               Krishnan Padmanabhan
                                                                     Ashok Ramani
                                                                    David J. Lisson
                                                                 Diana Hughes Leiden
                                                                 John Robert Lanham

  Proceedings:       HEARING RE: CLAIM CONSTRUCTION (MARKMAN
                     HEARING)

       Counsel state their appearances. The Court confers with counsel regarding the
  Court’s Tentative Order and hears oral argument.

     For reasons stated on the record, the issue of Claim Construction is taken
  UNDER SUBMISSION. The Court will issue a final order.

            IT IS SO ORDERED.




                                                                                           Time: 02:35
                                                                             Initials of Preparer: rrp/cla
